 

 

 

Last Will and Gestament
of

ROBERT C. KOZLOWSKI

Carolle Kozlowski
Executrix

LAW OFFICES oF
EMERICK & DIGGINS
PROFESSIONAL CORPORATION
@18 SOUTH MAIN. STREET
KENDALLVILLE, INDIANA 46755
TELEPHONE: {219} 347-1050

 
 

 

ee ee Soe a ie ee
EMERICK & BIGGINS. Boe RO Pog ae oF
PROFESSIONAL CORPORATION: Sg a eee : . a
KENDALE VILLE. INDIANA Se BR s ony PE ati

 
 
  
 
 
 

 

 

Lest WL sap Gestament
ak

ROBERT c, KOZLOWSKI

| <, ROBERT Cc. KOZLOWSKI, residing at 12313 West Wind
PRIME. Fort wayne, diana 46845, ang being of Sound and

Sisgesinc Mind and Memory, go hereby maka, tatify and publish

 

this, Sy Dast Wily and Testament, hereby expressly revoking all
Previous Willis oF Codicils by me made. I am married to CAROLLE

KOZLOWSKI, and we have One child, hamely: STEVEN KOZLOWSR? .

I hereby direct my Executrix, hereinafter named, to
bay all of my legal obligations, including funeral ®xpenses,
expenses of last illness, estate and inheritance taxes, both

State and federal, 48 soon after my decease as Conveniently can
ae done.

 

Er,  &
~ hereby Give, devise and bequeath all of my estate,

of whatever Sind and nature, and wherever Situate, to my wife,

CAROLE KOZLOWSKI, if she Survives me,

 

In the event my wife, CAROLLR KOZLOWSKI, should

Predecease Me, = hereby Give, devise and bequeath all of my

   

o = yee a - 5 3
Poa he ayey VEU SOR bec © evans Poot om me om, arse oy f
ww SOF, STR Yeo Mel eee BE wih IAG 4 r POW,

POE ce a ap 6 aes, gl ore ep By OT ne store a “os ” a = 5
ese ata EE eae ee ‘y San ba es * son St wot : Nl TF ange Seng oe apts se se
se Be da, Po Tt any : a 4 Psa “e

‘ Sa ay i 3 COU Eps a feel wee
: ea e
dee Soke da Be ame pe GE MEN Pub . oo ae dat,
 

AUC LUWD AL yg) Aro wer have one cniia, Namely? STEVEN KOZLOWSKI.

 

 

 

i.

I hereby direct my Executrix, hereinafter named, to
pay all of my legal obligations, including funeral expenses,
expenses of last illness, estate and inheritance taxes, both
State and federal, as soon after my decease as conveniently can
be done,

| If.

I hereby give, devise and bequeath all of my estate,
of whatever Kind and nature, and wherever Situate, to my wife,
CAROLLE ROZLOWSKI, if she Survives me,

In the event my wife, CAROLLE KOZLOWSKI, should
predecease me, 1 hereby give, devise and bequeath all of my
property, of whatever kind and nature and wherever situate, to
Our son, STEVEN KOZLOWSKI. In tha event that my wife, CAROLLE
KOZLOWSKI, and my son, STEVEN KOZLOWSKI, should predeceasea me, I
hereby give, devise and bequeath all of my property to my
Godchildren as follows: 25% percent to JOHN DENTS; 25% percent
to MELLISA DENIS; 25% percent to AMBER DESROSIERS; and 25%
percent to DEBRA THOMAS.

“XII,
I hereby nominate, constitute and appoint my wife,

CAROLLE KOZLOWSKI, as Executrix. this my Last Will and

& rfot QO. Vozbs

 
 

 

 

 

 

 

fF

Michael m. Yoder and Shirley

the same this 5 day of De

The foregoing instrument, Consisting of three (3)

 

Paes
i

 
 

 

 

 

such instruments as tay be necessary ana PrOpen 2u. ceae cuuse

such purposes.

Vv.
All estate, inheritance, transfer, legacy, succession
and other death taxes of any kind or nature which may be imposed

or assessed upon or with respect to property passing under this

Will shall be paid out of my estate as an expense of adminis-

tration and without apportionment or proration.
VI.

Any devisee or legatee who does not survive me for a
period of five (5) months shall be considered to have
predeceased me, and such devise or legacy shall pass under this
Will as if the devisee or legatee had predeceased me,

IN WITNESS WHEREOF, I have subscribed my name to this,
my Last Will and Testament, and I have this day called upon
Michael M. Yoder and Shirley E. Anders as witnesses to

the same this 8 day of ep 1988.
SS

of CA Ce. Yorba wk 3

Robert C, Kozlowski
The foregoing instrument, consisting of three (3)
type-written pages, including the page signed by the Testator,
was on. the date hereof, by ROBERT C. KOZLOWSKI, subscribed,
published, and declared to be his Last Will and Testament in the

presence of us, and each of us, who at his request and in his

—2u

 

 

     

 
 

 

 

presence, and in the presence of each other, have Signed the
Same as witnesses thereto, and we declare at the time he was of
sound and disposing mind and memory.

WITNESSES: Lb
Michael M. Yoder (7 ,

PROOF OF WILL

 

STATE OF INDIANA )
COUNTY OF NOBLE ss

UNDER PENALTIES FOR PERJURY, We, ROBERT C, KOZLOWSKI,
MICHAEL M. YODER, and SHIRLEY E. ANDERS, the Testator and the
witnesses respectively, whose names are Signed to the foregoing

instrument declare that:

l. The Testator executed the instrument as his Will;

2. In the presence of both witnesses, he signed said
instrument
3. He executed the Will as his free and voluntary act

for the purposes expressed therein;

4. Each of the witnesses, in the presence of the
Testator and of each other, signed the Will as a
witness thereof;

5. The Testator was of sound and disposing mind;

6. The Testator was over the age of eighteen (18)

years,

oo,

: i : ™~ \ we f ‘
Dated: December \&_, 1988 Ae i Cazes Le

Robert C; Bozlowski, Testator

AE gf a
Dated: December (9 , 1988 Exb tc

tized EE. fob

Michael M. Yoder, Witness

e

 
 

 

 

sound and disposing mind and memory.

WITNESSE

Mastered GE. dh

/ ttehael My Yoder er

a

STATE OF INDIANA )

)
COUNTY OF NOBLE )

PROOF OF WILL

SS:

eles

F

 

UNDER PENALTIES FOR PERJURY, We, ROBERT C, KOZLOWSKI,

MICHAET, M. YODER, and SHIRLEY E. ANDERS, the Testator and the

witnesses respectively,

instrument declare that:

whose names are Signed to the foregoing

1. The Testator executed the instrument as his Will;

2. In the presence of both witnesses, he signed said

instrument;

3. He executed the Will as his free and voluntary act

for the purposes expressed therein;

4, Each of the witnesses,

in the presence of the

Testator and of each other, signed the Will as a

witness thereof;

4. The Testator was

6. The Testator was

years.

Dated: December a,
Dated: December l7,

Dated: December {7 7

WKozlowR/t

1988

1988

1988

of sound and disposing mind;

over the age of eighteen (18)
—
he iO. zhane ks

Robert C,

he tata Z toggle

r

 

 
 

+ SAE
